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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF ILLINOIS

  MARK HALE, TODD SHADLE, and
  LAURIE LOGER, on behalf of
  themselves and all other similarly
  situated,

                         Plaintiffs,

  v.                                            Case No. 12-cv-660-NJR

  STATE FARM MUTUAL
  AUTOMOBILE INSURANCE
  COMPANY, EDWARD MURNANE,
  and WILLIAM G. SHEPHERD,

                         Defendants.


                          MEMORANDUM AND ORDER

 ROSENSTENGEL, Chief Judge:

        Pending before the Court is a Joint Motion for Order Directing Transfer of

 Settlement Funds Pursuant to the Approved Class Action Settlement Agreement

 (Doc. 1017). Upon due consideration, the Court finds that the Motion is well-taken, and

 that the Effective Date of the Class Action Settlement Agreement has been triggered by

 the Seventh Circuit’s issuance of its Order dismissing Objector Lisa Marlow’s appeal

 (upon her motion to do so with prejudice) and its Mandate (See Doc. 941, pp. 19-20; see

 also Doc. 1016).

        In order to facilitate the transfer of the remaining settlement funds pursuant to the

 terms of the Settlement Agreement, the Court GRANTS the Parties’ Joint Motion for

 Order Directing Transfer of Settlement Funds Pursuant to the Approved Class Action

 Settlement Agreement (Doc. 1017). The Court hereby AUTHORIZES the transfer of the

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 remaining Settlement Amount from the depository account created by State Farm Mutual

 Automobile Insurance Company at JPMorgan Chase Bank, NA to the account established

 at the request of Class Counsel at CIBC Bank for deposit in the Hale v. State Farm

 Settlement account.

       IT IS SO ORDERED.

       DATED: July 11, 2019


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                                              NANCY J. ROSENSTENGEL
                                              Chief U.S. District Judge




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